Case 2:20-cv-01813-RFB-DJA Document 1-2 Filed 09/29/20 Page 1 of 7




                   Exhibit “A”
                         Complaint
                  Case 2:20-cv-01813-RFB-DJA Document 1-2 Filed 09/29/20 Page 2 of 7
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                                                                                            Steven D. Grierson
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             RYAN ALEXANDER
         1   Nevada Bar No. 10845
         2   RYAN ALEXANDER, CHTD.
             3017 West Charleston Blvd., Ste. 58
         3   Las Vegas, NV 89102                                                       CASE NO: A-20-814997-0
         4   Phone: (702) 868-3311                                                              Department 2 >
             Fax; (702) 822-1133
         5   Attorneyfor Plaintiff
                                                    DISTRICT COURT
         6                                       CLARK COUNTY, NEVADA
  c      7
  o
               MARTHA SANCHEZ, a, an Individual;                      Case No.:
  •<     8                                                            Dept. No.:
   o
                             Plaintiff,
  Zi 9            V.                                                  COMPLAINT
   s' 10
  >
   lU          WAL-MART STORES, D^C., a Delaware
               Corporation doing business as WAL-MART;                CAUSES OF ACTION:
        11                                                                (1) Negligence
5®             DOES I-X, unknown persons; and ROE
of lU   12     Corporations I-X;
9 §
is 13                                Defendants.

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   § 15
                COMES NOW, Plaintiff MARTHA SANCHEZ (“Plaintiff” and “SANCHEZ”), by and through his
   lO        attorney of record, Ryan Alexander, Esq., as and for her Complaint against Defendants WAL-MART
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  KJ         STORES, INC., a Delaware Corporation, DOES I through X, inclusive, and ROE CORPORATIONS I-
   S 17
             X, inclusive (collectively, “Defendants”), and hereby complains, alleges and states as follows:
  5 18                                                        PARTIES
    19
              1. Plaintiff MARTHA SANCHEZ is an individual who resides in Cook County, Illinois.
        20
             2. Defendant WAL-MART STORES, INC. is a Delaware Corporation doing business as WALMART
        21
              in Clark County, Nevada.
        22
              3. The true names and capacities, whether individual, corporate, associate or otherwise of other
        23
              Defendant hereinafter designated as DOES I-X, inclusive, and/or ROE CORPORATIONS I-X,
        24
              inclusive, who are in some manner responsible for injuries described herein, are unknown at this time.
        25
              Plaintiff, therefore, sues said Defendant by such fictitious names and will.seek leave of the Court to
        26
              amend this Complaint to show their true names and capacities when ascertained.
        27
             4. Upon information and belief, at all times pertinent. Defendant were agents, servants, employees or
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             joint ventures of every other Defendant herein, and at all time mentioned hereinafter were acting



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         1    within the scope and course of said agency, employment, or joint venture, with knowledge and
        2     permission and consent of all other Defendants.
        3     5. The Defendants are jointly and severally liable for each defendant’s actions.
        4
        5                                         JURISDICTION AND VENUE
         6 6. Venue is proper in Clark County, Nevada pursuant to NRS 13.040.
   o
         7 7. The exercise ofjurisdiction by this Court over each Defendant in this civil action is proper pursuant
   •<    8 to NRS 14.065.
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   z         8. The incident for which Plaintiffs complains and for which Defendants are liable arises out of
   i 10 negligence of WALMART in Clark County, Nevada.
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52 12                                              GENERAL ALLEGATIONS
ll 13         9. Defendant WAL-MART owns, operates, manages and controls the premises and building known as

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              WAL-MART SUPERCENTER (“WALMART”), at 4505 W. Charleston Boulevard in Las Vegas,
   I 15
   «A
              Nevada.
   Ul

              10.    At all the times hereinafter mentioned, the defendant WALMART was in control of the
   XJ
   S 17       management of said retail store and was held out to the public by the Defendant as the "proprietor"
   5 18       thereof.
   n

        19    11.    Defendant WALMART employed attendants, to attend the common areas of the above
        20    mentioned premises, and to assist persons lawfully using said premises and maintaining the facilities.
        21    12.    On or about May 29,2018, SANCHEZ was walking in WALMART as a customer when she
        22    slipped in liquid on the floor.
        23    13.    The liquid appeared to be standing water.
        24    14.    WALMART employees were located throughout the store, but none of the employees cleaned
        25    up the liquid, allowing it to remain wet and a slipping hazard.
        26    15.    Alternately, WALMART employees put the liquid on the floor themselves, causing the hazard.
        27    16.    There were no warning signs or cones indicating that a liquid was spilled on the floor.
        28    17.    Defendants knew or should have known that there was liquid on the floor and that it was a



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                   Case 2:20-cv-01813-RFB-DJA Document 1-2 Filed 09/29/20 Page 4 of 7




         1   hazard to invitees.
         2   18.    There were no caution signs or warnings of liquids on the floor.
         3   19.    There were no warnings that the floor was in an unsafe or slippery condition.
        4    20.    Plaintiff has suffered physical injuries as a result of the fall, including damage to his
         5   extremities, upper and lower back, and right knee. As a result of the incident, Plaintiff has suffered
         6   pain and has lost mobility. Plaintiff continues to suffer and will suffer pain from the injuries in the
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         7   incident.
   «<    8   21.    Plaintiff has incurred medical expenses in excess of $33,051 as a result of the fall.
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             22.    Plaintiff suffered economic losses and adverse employment effects from the incident.
   I 10      23.    Plaintiffhas incurred damages in excess of $15,000.
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        12                                        FIRST CLAIM FOR RELIEF
        ,3                                                  (Negligence)
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ee £a
             24.    Plaintiff hereby repeats and alleges all previous paragraphs, as though fully set forth herein.
   I 15      25.    Plaintiff fell as aforesaid, by reason of the negligence of the Defendants in failing to clean and
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   ix 16     keep dry the grounds of said premises of said corporate defendant; in maintaining said floor in a
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   S 17      condition dangerous to the life and limb of persons lawfully using same, in that they failed to clean the
   5CO 18    floor of liquid; in maintaining said floor in a slippery condition, dangerous to the life and limb of
        19   persons using the same; in failing to use proper cleaning and maintenance standards, and to exercise
        20   proper care, or to remedy the slippery condition of the floor to the aforesaid premises with protective
        21   strips, coatings or warning signs and cones.
        22   26.    Defendants failed to maintain the floor of their facility in reasonably safe condition for use.
        23   27.    Defendants knew or should have known about the condition of the floor.
        24   28.    Defendants knew that broken merchandise, employees or other invitees of WALMART may
        25   cause debris or fluids to fall onto the floor and cause a danger to Plaintiff that was foreseeable.
        26   29.    Alternately, WALMART knew that employees may leave the floor in a wet or unsafe condition
        27   due to liquids.
        28   30.    Defendants and its attendants failed to take reasonable precautions against the foreseeable



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                    Case 2:20-cv-01813-RFB-DJA Document 1-2 Filed 09/29/20 Page 5 of 7




         1    dangerous condition caused by employees or other invitees.
         2    31.      Defendants failed to exercise due care for the safety of the Plaintiff or other patrons or
         3    employees of the WALMART on the premises.
         4    32.      Upon information and belief, Defendants knew of prior incidents of similar dangerous
         5    conditions of liquids or slick substances on the floors being caused on the premises by other persons,
         6    or by broken merchandise, and the Defendant had notice or knowledge of those incidents.
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         7    33.      The doctrine of res ipsa loquitur is applicable to Plaintiffs action against Defendants herein, in
   %<    8   that at the time that Plaintiff fell, the floor was under the exclusive control of Defendants. If
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   z          Defendants had cleaned or maintained the floor with reasonable care, instead of in a negligent manner,
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              then, in the ordinary course. Plaintiff would not have fallen as alleged herein.
              34.      As a result of Defendants* negligence. Plaintiff has suffered physical and emotional pain.
        12    35.      As such. Defendant is responsible for damages in excess of $15,000.00.
is 13         36.      Because of Defendants* acts or omissions, Plaintiff has been required to incur further attorneys*
^i 1 .
f 3 14        fees and costs in bringing this action and request that the Court grant said fees and costs.
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   IX 16                                               PRAYER FOR RELIEF
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   g 17                WHEREFORE, Plaintiff is entitled to judgment in his favor and against Defendants, jointly and
   5 18      severally, as follows:
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        19          1. For judgment in an amount in excess of $ 15,000.00;
        20      2. For all costs and all attorneys* fees incurred and accrued in these proceedings;
        21      3. For interest thereon at the legal rate until paid in full; and
        22      4. For such other and further relief as the Court may deem just and proper.
        23
        24
              Dated May 13,2020.                                        RYAN ALEXANDER, CHTD.
        25
        26
        27
                                                                        RY^ ALEXANDER
        28                                                              Nevada Bar No. 10845
                                                                        Attorneyfor Plaintiff


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               Case 2:20-cv-01813-RFB-DJA Document 1-2 Filed 09/29/20 Page 6 of 7
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        1
            RYAN ALEXANDER
        2   Nevada Bar No. 10845
            RYAN ALEXANDER, CHTD.
        3   3017 West Charleston Blvd., Ste. 58                                          CASE NO: A-20-814997-C
        4   Las Vegas, NV 89102                                                                   Department 16
            Phone: (702) 868-3311
        5   Fax: (702) 822-1133
            Attorneyfor Plaintiff
        6                                          DISTRICT COURT
        7                                       CLARK COUNTY, NEVADA
  o
        8    MARTHA SANCHEZ, an Individual;                        Case No.:
  <                      PlaintifT,                                Dept. No.:
  I2; 9
  z            V.                                                  INITIAL APPEARANCE FEE
  ^ 10                                                             DISCLOSURE
  S          WAL-MART STORES, INC., a Delaware
  ^ 11       Corporation; DOES I-X, unknown persons;
i!           ROE Corporations I-X,
ug 12
Ss                             Defendants.
I? 13
^i
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$ o
ee A
                    Pursuant to Nevada Revised Statutes, Chapter 19, filing fees are submitted herewith for
  z 15      parties appearing in the above-entitled action as indicated below:
  9
  I 16
                    MARTHA SANCHEZ                                            $ 270.00
       17
  %                 TOTAL REMITTED:                                           $ 270.00
  C 18
  ^ 19
  o
             Dated this 13th of May, 2020.                         RYAN ALEXANDER, CHTD.

       20
       21
                                                                   R'^ ale:         DER
       22                                                          Nevada Bar No. 10845
       23                                                          3017 West Charleston Blvd., Ste. 58
                                                                   Las Vegas, NV 89102
       24                                                          Attorneyfor Plaintiff
       25
       26
       27
       28



                                                                -1-
                                                  Case Number A‘20-814997*C
                 Case 2:20-cv-01813-RFB-DJA Document 1-2 Filed 09/29/20 Page 7 of 7

                                        DISTRICT COURT CIVIL COVER SHEET
                                               ___________________ JC Is rk jCouniy, Nevada
                                               Case No.                                                               CASE NO: A-20-814997-C
                                                                  (Assigned by Clerk's O^Jiee)                        ________ Department 26
I. P&rty Information (provide both home and maUIng addresses i/diffenm)
Plaintini(s) (namc/address/phone):                                      Defendants) (name/address/phone):
                     Martha Sanchez                                                                     Wal'Mart Stores Inc.
                                                                                                        c/o Corporation Trust Co. of Nevada
                                                                                                        701 S. Carson St. Ste 200
                                                                                                        Carson City 89701
Attorney (namc/address/phone):                                                          Attorney (name/address/phone):
          Ryan Alexander. Esq.» NV Bar No. 10845
                 RYAN ALEXANDER. CHIP.
     3017 W. Charleston Blvd. Ste. 58, Las Vegas NV 89102
          Phone: (702) 868-3311 Fax: (702) 822-1133
Il» Nature of Controversy (pteaseseteellheonemosleppUcable/HinB typebehw)
Civil Case Filing Types
                 Real Property                                                                      Torts
  LandlordfTenant                                 Negligence                                        Other Torts
  nUnlawful Detainer                             r~|Auto                                           r~| Product Liability
  nOther Landlord/Tenant                         ^Premises Liability                               ^Intentional Misconduct
   Title to Property                             Qother Negligence                                 ^Employment Tort
  ^Judicial Foreclosure                          Malpractice                                       r~|lnsurance Tort
  Qoiher Title to Property                       n Medical/Dental                                  riOthcr Tort
   Other Real Property                           n Legal
  riCondemnation/Eminent Domain                  ^Accounting
  [[pother Real lYoperty                         r~| Other Malpractice
               Probate                             Construction Defect & Contract                                 Judicial Review/Appeal
  Probate (sdeel ease lype and esiate value)      Construction Defect                               Judicial Review
  Q Summary Administration                       r~| Chapter 40                                    □Foreclosure Mediation Case
  ^General Administration                        □other Construction Defect                        □Petition to Seal Records
  QSpecial Administration                        Contract Case                                     □Mental Competency
  |~iSet Aside                                   □uniform Commercial Code                          Nevada State Agency Appeal
  r~|Tnist/Conservatorship                       □Building and Construction                        □Department of Motor Vehicle
  Qother Probate                                 □ insurance Carrier                               □worker’s Compensation
  Estate Value                                   □commercial Instrument                            □other Nevada State Agency
  □OverS200.000                                  □collection of Accounts                           Appeal Other
  riBetwccn SIOO.OOQ and S200,000                □Employment Contract                              □Appeal from Lower Court
  QUnder S100,000 or Unknown                     □other Contract                                   □other Judicial Review/Appeal
  □under S2,500
                                          Civil Writ                                                                  Other Civil Filing
  Civil Writ                                                                                       Other Civil Filing
  □writ of Habeas Corpus                         □writ of Prohibition                              □compromise of Minor's Claim
  □writ of Mandamus                              □other Civil Writ                                 □Foreign Judgment
  □writ of Quo Warrant                                                                             □outer Civil Matters
                                    Business Court filings should befiled using the Business Court civUeoversheeL

5/13/2020
                        Date                                                               Signature of i faitlating party 6x representative

                                                         See other sideforfamify^iated easefilings.




   Nradi AOC - Remrii Suiain Uaii                                                                                                              runPAUI
   PnifaniiaMLSJjrs                                                                                                                               Re* 3.1

                                                               Case Number A>20*814997-C
